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 4
     Attorney for Defendant
 5   RAMIRO CATANO
 6

 7
                                     UNITED STATES DISTRICT COURT
 8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                         Case No. 1:17-CR-00044-DAD-BAM
11
                        Plaintiff,
12
            v.                                         STIPULATION AND ORDER TO
13                                                     CONTINUE STATUS CONFERENCE
     RAMIRO CATANO
14   TERESO CATANO CASAS,

15                      Defendant.

16

17          The Defendants, TERESO CATANO AND RAMIRO CATANO, by and through their a

18   attorneys of record, respectively, David A. Torres and Jared M. Thompson, and the United States

19   of America, by and through its attorney of record, Grant Rabenn, hereby stipulate as follows:

20   1.     The status hearing in this matter is currently set for March 27, 2017 at 10:00 a.m.

21   2.     Counsel for Ramiro Catano, Mr. Thompson, was recently retained on March 21, 2017.

22   Mr. Thompson needs some additional time to review the discovery available and to review the

23   plea agreement, as well as, discuss these matters with his client. Counsel believes that these tasks

24   can be accomplished with an additional week.

25   3.     The defense is requesting that Mr. Catano’s status hearing be continued to April 3, 2017,

26   at 10:00 a.m. Mr. Thompson has discussed this short continuance with Mr. Torres, attorney for

27   Tereso Catano, and with AUSA Grant Rabenn. Both are amenable to the short continuance and

28   Mr. Torres is willing to exclude time on behalf of his client.
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 1
     4.      The United States has no objection to the requested continuance and the date selected.
 2
     The parties agree that the time until the next status hearing be excluded under the Speedy Trial
 3
     Act to preserve the interests of justice under 18 U.S.C. § 3161(h)(7)(A). Defense counsel has
 4
     discussed with the Defendants the issue of excluding time and the Defendants are willing to
 5
     waive/exclude time for this purpose.
 6
          IT IS SO STIPULATED.
 7
     DATED: Mar. 23, 2017                                   By: /s/ David A. Torres
 8                                                          David A. Torres, Attorney for Defendant,
                                                            TERESO CATANO
 9

10   DATED: Mar. 23, 2017                                   By: /s/ Jared M. Thompson
                                                            Jared M. Thompson, Attorney for
11                                                          Defendant, RAMIRO CATANO

12   DATED: Mar. 23, 2017                                   By: /s/ Grant Rabenn
                                                            Attorney for Government
13
                                                            Assistant United States Attorney
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15
                                                   ORDER
16
             The Court has reviewed and considered the stipulation of the parties to continue the status
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     conference in this case. Good cause appearing, the status conference as to the above named
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     defendant currently scheduled for March 27, 2017, is continued until April 3, 2017, at 10:00 a.m.
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     in Courtroom 5 before District Judge Dale A. Drozd. The time period between March 27, 2017
20
     and April 3, 2017 is excluded under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A)
21
     and (B)(i) and (iv), as the ends of justice served by granting the continuance outweigh the best
22
     interest of the public and the defendant in a speedy trial.
23
     IT IS SO ORDERED.
24
          Dated:   March 23, 2017
25
                                                           UNITED STATES DISTRICT JUDGE
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